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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

QONDUIT, LLC                                §
                                            §
v.                                          §       CASE NO. 6:14cv845-JDL
                                            §
SECURITIES AMERICA, INC.                    §

                                     FINAL JUDGMENT

     . Pursuant to Plaintiff’s Agreed Motion to Dismiss, the Court hereby enters Final
Judgment. Plaintiff Qonduit, LLC, filed suit against Securities America, Inc. on November 7,

2014. Since that time, all Defendants have been dismissed in this case.

       IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITH PREJUDICE. All costs are to be borne by the party that incurred them.

       All motions by either party not previously ruled on are hereby DENIED.

       The Clerk of the Court is directed to close this case.
        SIGNED this 19th day of December, 2011.
       So ORDERED and SIGNED this 5th day of June, 2015.
